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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

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IN RE: Case No. 11-44246-AJC
Chapter 13
Carlos Javier Alvarez,

Debtor.
/

DEBTORS MOTION FOR REHEARING ON ORDER DENYING
MOTION TO VALUE AND DETERMINE SECURED STATUS OF LIEN ON REAL PROPERTY

HELD BY WELLS FARGO BANK, NATIONAL ASSOCIATION (ECF NO. 63)
Debtor, Carlos Javier Alvarez, hereby moves this court for a rehearing on the order entered

on April 24, 2012 denying the Motion to Value entered by Debtor seeking to cram down an

investment property.

The Court in its decision has sided with the creditor and states that the code does not
permit a non filing spouse to obtain the benefit of a cram down on a property owned by

tenants in the entireties without the non filing spouse having to carry any of the burdens.

The Court further states that allowing this type of cram down could potentially enrich the

non filing spouse.

Recently Honorable Judge Karen S. Jennemann in the Middle District of Florida in the
Case of In Re Pierre, Case Number 6:10-bk-21663, has ruled similarly to this court on this

type of issue. This ruling has been appealed as of April 27, 2012 under Case Number 6:12-

 
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cv-00642-PCF. The Debtor prays that this court takes into consideration the pendency of

this appeal.

The Debtor holds that the Strausbough opinion (In re Strausbough, 426 B.R. 243 (Bankr.
E.D. Mich., 2010), is a consolidated ruling of the cases of In re Strausbough and In re
Tomasi, which holds that a two-part analysis is necessary to determine whether a junior
lien can be avoided. First, the court must consider what the estate's interest is in such
property and, second, it must determine the value of the creditor's interest in the estate's
interest. Based on those facts in Strausbough and Tomasi, the court ultimately concluded
that since, ~the value of the property at issue is less than the amount due on the first
_ mortgage there is no equity available to pay joint claims" and therefore the estates had no

interest in the entireties properties of the debtors and their non-filing spouses.

The court in In re Strausbough further noted that:

“This Court appreciates the Hunter court's concern that the non-filing spouse's
property ts not before the bankruptcy court in these cases, as well as its further
concern that the debtor is seeking to use the Bankruptcy Code to benefit the non-
filing spouse without the resulting burdens. Ultimately, however, the issue is one of
Congressional intent: Did Congress intend to allow the avoidance of a junior lien on
entireties property when only one spouse files bankruptcy? While the concerns
expressed by the Hunter court certainly should be considered in determining

whether Congress so intended, they are not determinative.” id. at 249.

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“The reality is that every day, bankruptcy courts construe and apply chapter 13 in
ways that benefit non-filing spouses. The most important of these benefits is
probably the benefit that the nonfiling spouse enjoys when his or her spouse files a
chapter 13 case for the purpose of maintaining possession of the entireties property
while curing the default in the mortgage on the property. Nothing in the Bankruptcy
Code requires both parties to join in the filing for both of them to obtain that benefit.
Similarly, nothing in the Bankruptcy Code requires a joint filing in a chapter 13 case
to obtain the benefits of lien avoidance under § 506(a) and (d). In each instance, the
incidental benefit to the nonfiling spouse results from the fair application of the
language of the Bankruptcy Code. That incidental benefit, by itself, is not grounds

for a different result in either circumstance.” Id. at 250.

The ruling in the Strausbough case is inconsistent with the decision of this court which
states that “The Code does not permit this....” and what was the intent of Congress. Does

the Code specifically prohibit this?

The non filing spouse in our instant case is not a joint debtor of the underlying debt of the
mortgage. The Debtor recognizes that listing the Debt on Schedule D as a Joint Debt is
completely erroneous, and an unintentional mistake at the preparation of the petition. The
Analysis section of the Order notes this however in concluding recognizes thai the non

filing spouse did not co-sign the note but did sign the mortgage.

 
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When multiple parties own a property but only one is liable on the note, it is imperative that
the non liable parties sign the mortgage, otherwise the lender would never be able to

foreclose on a defaulted obligation because of the rights of the non-borrowers.

lt is common knowledge; the Mortgage is an incident of the Note, and not the Note an
incidence of the Mortgage. When the lender took into consideration to lend the money, it
never looked at the ability to pay on behaif of the co-owners. They only looked at the
parties actually signing the Note. The good faith estimate, the Truth in lending, the loan
application, and in general most closing documents are only signed by the party signing the
Note. From the get go, there is a benefit to the non Note signer who co-owns a property.

These folks own a property without any credit risk whatsoever.

in Bankruptcy there is always incidental benefits to various parties.

When we have a homestead issue, we look at what was the debtors place of residence at

the time of filing, not where the debtor is going to live in years down the road.

When we have a valuation issue, we look at the time of filing what the value is, not what

the value is going to be years down the road.

Similarly when we are doing a cram down, we must look at the value at the time of filing,
and we must look at the equity of the parties at the time of filing, irrelevant of the type of

ownership and not be concerned about a future incidental benefit. Certainly if we were

 
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cramming down a 2003 Pontiac that was jointly owned, the courts since they would
perceive that the future value is going to decrease anyway would have little objection in
allowing the Motion to Value. But since it is Real Estate, and the possibility with
appreciation arises, then there is a concern of incidental benefits. This is a unique moment

in our history.

For all of the above the Debtor prays the Court will grant this Motion for Rehearing and
upon Rehearing vacate the order denying the Motion to Value and instead either grant the
Motion to Value or at least hold the matter in abeyance pending the decision of the District

Court of the Middle District of Florida.

| HEREBY CERTIFY that ! am admitted to the Bar of the United State District Court for
the Southern District of Florida and | am in compliance with the additional qualifications
to practice in this Court set forth in Local Rule 2090-1(A) and that a true and correct
copy of this Motion Notice of Hearing was served to ail interested parties on ECF on

May 8, 2012.

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By:/s/ Andres Montejo
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